Case 2:18-Cr-01252-RB Document 2 Filed 04/18/18 Page 1 of 11

IN THE UNITED STATES DISTRICT cOURT 13 11 1 3 1 "

FOR TI-IE DISTRICT OF NEW MEXICO if 1_§[:"1':\§' 1_ 1115 C§li_.lijf®,

CR]MINAL NO. R 12 52

Count 1: 21 U.S.C. § 846: Conspiracy;

UNITED STATES OF AMERICA,
Plaintiff,
vs.

FIDEL GONZALES, a.k.a. “Bean,” a.k.a.
“Junior,”

BRIAN ESTRADA,

BRIAN NEVAREZ, a.k.a. “Buttercup,”
BARBARA LOZOYA MICHEL, a.k.a.
“Tia’s)

ORLANDO BUSTILLOS, and

FIDEL M. ORTIZ, a.k.a. “Pops,”

Count 2: 18 U.S.C. § 1956(h);
International Money Laundering
Conspiracy;

Counts 3-9,11,12,16,and17:21 U.S.C. §
843(b): Use of a Communication Facility to
Further the Commission of a Drug
Trafi'lcking Crirne;

Defendants. Count 10: 18 U.S.C. § 1956(a)(2)(A):
Intemational Money Laundering; 18 U.S.C.
§ 2: Aiding and Abetting;

Counts 13 and 14: 21 U.S.C. §§ 84l(a)(1)
and (b)(l)(C): Distribution of Cocaine; 18
U.S.C. § 2: Aiding and Abetting;

Count 15: 21 U.S.C. §§ 84l(a)(l) and
(b)(l)(C): Possession with Intent to
Distribute Cocaine; 18 U.S.C. § 2: Aiding
and Abetting.

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I N D I C T M E N T
The Grand Jury charges:
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From on or about October 24, 2017, and continuing to on or about April 18, 2018, in
Dona Ana County, in the District of New Mexico, and elsewhere, the defendants, FIDEL
GONZALES, a.k,a. “Bean,” a.k.a. “.Iunior,” BRIAN ESTRADA, BRIAN NEVAREZ,
a.k.a. “Buttercup,” BARBARA LOZOYA MICHEL, a.k.a. “Tia,” ORLANDO

BUSTILLOS, and FIDEL M. ORTIZ, a.k.a. “Pops,” unlawfully, knowingly and

Case 2:18-cr-01252-RB Document 2 Filed 04/18/18 Page 2 of 11

intentionally combined, conspired, confederated, agreed, and acted interdependently with each
other and with other persons whose names are known and unknown to the Grand Jury to
commit an offense defined in 21 U.S.C. § 841(a)(l), specifically, distribution of controlled
substances, heroin and cocaine.
Quantig of Heroin Involved in the Conspiracy
With respect to FIDEL GONZALES, a.k.a. “Bean,” a.k.a. “Junior,” BRIAN
ESTRADA, the amount involved in the conspiracy attributable to them as a result of their own
conduct, and the conduct of other conspirators reasonably foreseeable to them, is 100 grams and
more of heroin, contrary to 21 U.S.C. § 84l(b)(1)(B).
OVert Acts
In furtherance of the conspiracy, and to accomplish the objectives of the conspiracy, the
following acts, among others, were committed:
Overt Act One
On October 25, 2017, during a telephone call, Fidel Gonzales and Brian Estrada
discussed the details of a drug load that was to be transported to Columbia, South Caroiina.
Overt Act Two
On October 25, 2017, Brian Estrada delivered four units of illegal drugs to an individual
in Columbia, South Carolina.
M
On October 26, 2017, in a telephone call, Brian Estrada told Fidel Gonzales that he had

delivered the four units of illegal drugs to the individual in Columbia, South Carolina.

 

Case 2:18-cr-Ol252-RB Document 2 Filed 04/18/18 Page 3 of 11

MFO_M
On October 26, 2017, Brian Estrada and Brian Nevarez exchanged a series of calls and
text messages to arrange the delivery of two units of illegal drugs to an individual in
Chattanooga, Tennessee.
Overt Act Five
On October 26, 2017, Brian Estrada delivered two units of illegal drugs to an individual
in Chattanooga, Tennessee.
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On October 26, 2017, in a telephone call, Brian Estrada told Brian Nevarez that he had
delivered the two units of illegal drugs to the individual in Chattanooga, Tennessee.
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On October 26, 2017, in a telephone call, Brian Nevarez told Brian Estrada that the
individual who had received the two units of illegal drugs in Chattanooga, Tennessee, was upset
about the poor quality of the illegal drugs.
Mgm
On October 27, 2017, in a series of text messages and telephone calls, Brian Nevarez,
Brian Estrada, and Fidel Gonzales agreed to sell the individual in Chattanooga, Tennessee, the
two units of illegal drugs for $28,000 per unit, based on the poor quality of the illegal drugs.
Overt Act Nine
On November 3, 2017, in a series of telephone calls and text mcssages, Brian Estrada
told Fidel Gonzales that Brian Esu'ada was going to transport heroin and approximately

$125,000 in drug proceeds from South Carolina to New Mexico.

Case 2:18-cr-Ol252-RB Document 2 Filed 04/18/18 Page 4 of 11

Overt Act Teri
On November 5, 2017, Brian Estrada transported 838.06 net grams of heroin on behalf
of Fidel Gonzales, in an attempt to deliver the heroin back to Las Cruces, New Mexico.
Overt Act Eleven
On November 5, 2017, Brian Estrada transported $124,855 in drug proceeds on behalf of
Fidel Gonzales, which was intended to ultimately be delivered to Mexico.
Overt Act Twelve
On November 5, 2017, in a telephone call, Brian Estrada told Fidel Gonzales that the
$124,855 in drug proceeds had been seized by law enforcement
Overt Act Thirteen
0n February 7, 2018, Fidel Gonzales called one of his Mexican-based sources of supply
to purchase illegal drugs.
Overt Act Fourteen
On February 25, 2018, in a telephone call, Fidel Gonzales and Barbara Lozoya Michel
discussed Fidel Gonzales sending drug proceeds to Barbara Lozoya Michel on February 26,
2018.
Overt Act Fifteen
On February 26, 2018, in a series of text messages, Fidel Gonzales contacted one of his
local illegal drugs distributors to collect drug proceeds to send to Barbara Lozoya Michel.
Overt Act Sixteen
On February 26, 2018, in a telephone call, Fidel Gonzales directed Fidel Ortiz to deliver

drug proceeds to Barbara Lozoya Michel in EI Paso, Texas.

Case 2:18-cr-Ol252-RB Document 2 Filed 04/18/18 Page 5 of 11

Overt Act Seventeen
On February 26, 2018, Fidel Ortiz delivered $15,000 in drug proceeds to Barbara
Lozoya Michel in El Paso, Texas.
Overt Act Eighteen
On February 26, 2018, in a telephone call, Fidel Ortiz told Fidel Gonzales that he had
delivered 515,000 in drug proceeds to Barbara Lozoya Michel in El Paso, Texas.
Overt Act Nineteen
On February 26, 2018, in a telephone call, Fidel Gonzales told his Mexican-based source
of supply that Fidel Ortiz had delivered $15,000 in drug proceeds to Barbara Lozoya Michel in
El Paso, Texas.
umw
Between February 26, 2018, and February 27, 2018, in a series of telephone calls and
text messages, Brian Nevarez agreed to sell two ounces of cocaine to Orlando Bustillos on
February 27, 2018.
Overt Act Twent_v-One
On February 27, 2018, Fidel Gonzaies provided cocaine to Brian Nevarez for Brian
Nevarez to give to Orlando Bustillos.
Overt Act Twenty-Two
On February 27, 2018, Brian Nevarez provided 93.5 gross grams of cocaine to Orlando

Bustillos.

 

Case 2:18-cr-Ol252-RB Document 2 Filed 04/18/18 Page 6 of 11

Overt Act Tweng-Three

On February 27, 2018, Orlando Bustillos possessed approximately 93.5 gross grams of

cocaine that he intended to distribute to other people.
MM

On February 27, 2018, in a telephone call, Barbara Lozoya Michel told Fidel Gonzales

that his drug debt was approximately $32,320.
Overt Act Tweng-Five

On March 1, 2018, in two telephone calls, Fidel Gonzales told Barbara Lozoya Michel
that he would be sending drug proceeds to, and picking up illegal drugs from, Barbara Lozoya
Michel, on March 2, 2018.

Overt Act Tweng-Six

On March 2, 2018, Fidel Ortiz delivered drug proceeds to, and picked up illegal drugs

from, Barbara Lozoya Michel in El Paso, Texas.
Overt Act Twengg-Seven

On March 2, 2018, in a telephone cal|, Fidel Ortiz and Barbara Lozoya Michel told Fidel
Gonzales that Fidel Ortiz had delivered approximately 813,840 in drug proceeds to Barbara
Lozoya Michel in El Paso, Texas.

In violation of21 U.S.C. § 846.
M

From on or about October 24, 2017, and continuing to on or about April 18, 2018, in
Dona Ana County, in the District of New Mexico, and elsewhere, the defendants, FIDEL
GONZALES, a.k.a. “Beau,” a.k.a. “.Iunior,” BRIAN ESTRADA, BARBARA LOZOYA
MICHEL, a.k.a. “Tia,” and FIDEL M. ORTIZ, a.k.a. “Pops,” knowingly combined,

d conspired, confederated, agreed, and acted interdependently with each other and with other
6

 

Case 2:18-cr-Ol252-RB Document 2 Filed 04/18/18 Page 7 of 11

persons known and unknown to the Grand Jury to commit an offense defined in 18 U.S.C. §
1956(a)(2), specifically, international money laundering
In violation of 18 U.S.C. § 1956(h).
M
On or about October 25, 2017, in Dor'ia Ana County, in the District of New Mexico, and
elsewhere, the defendants, FlI)EL GONZALES, a.k.a. “Bean,” a.k.a. “Junior,” and BRIAN
ESTRADA, unlawfully, knowingly and intentionally used a communication facility, a telephone,
to further the commission of a drug trafficking crirne, namely, conspiracy to distribute a
controlled substance, contrary to 21 U.S.C. § 846.
ln violation of21 U.S.C. § 843(b).
Qtl_ot_‘l
On or about October 26, 2017, in Dofia Ana County, in the District of New Mexico, and
elsewhere, the defendants, FIDEL GONZALES, a.k.a. “Bean,” a.k.a. “Junior,” and BRIAN
ESTRADA, unlawfully, knowingly and intentionally used a communication facility, a telephone,
to further the commission of a drug trafficking crime, namely, conspiracy to distribute a
controlled substance, contrary to 21 U.S.C. § 846.
ln violation of21 U.S.C. § 843(b).
M
On or about October 26, 2017, in Dor”ia Ana County, in the District ofNew Mexico, and
elsewhere, the defendants, BRIAN ESTRADA and BRIAN NEVAREZ, a.k.a. “Buttercup,”
unlawfully, knowingly and intentionally used a communication facility, a telephone, to further
the commission of a drug trafficking crime, namely, conspiracy to distribute a controlled
substance, contrary to 21 U.S.C. § 846.

In violation of21 U.S.C. § 843(1')).

 

Case 2:18-cr-Ol252-RB Document 2 Filed 04/18/18 Page 8 of 11

M
On or about November 3, 2017, in Doi'ia Ana County, in the District of New Mexico, and
elsewhere, the defendants, FIDEL GONZALES, a.k.a. “Bean,” a.k.a. “Junior,” and BRIAN
ESTRADA, unlawfully, knowingly and intentionally used a communication facility, a telephone,
to further the commission of a drug trafficking crime, namely, conspiracy to distribute a
controlled substance, contrary to 21 U.S.C. § 846.
In violation of21 U.S.C. § 843(b).
M
On or about November 5, 2017, in Dor'ia Ana County, in the District of New
Mexico, and elsewhere, the defendant, FIDEL GONZALES, a.k.a. “Bean,” a.k.a. “Junior,”
and BRIAN ESTRADA, unlawliilly, knowingly and intentionally used a communication
facility, a telephone, to further the commission of a drug trafficking crime, namely, conspiracy to
distribute a controlled substance, contrary to 21 U.S.C. § 846.
in violation of21 U.S.C. § 843(b).
QQ!I_H_S
On or about February 7, 2018, in Dofia Ana County, in the District of New Mexico, and
elsewhere, the defendant, FIDEL GONZALES, a.k.a. “Bean,” a.k.a. “Junior,” unlawfully,
knowingly and intentionally used a communication facility, a telephone, to further the
commission of a drug trafficking crime, namely, conspiracy to distribute a controlled substance,
contrary to 21 U.S.C. § 846.
In violation of 21 U.S.C. § 843(b).
M
On or about February 25, 2018, in Dor“\a Ana County, in the District of New Mexico, and

elsewhere, the defendants, FIDEL GONZALES, a.k.a. “Bean,” a.k.a. “Junior,” and
8

Case 2:18-cr-Ol252-RB Document 2 Filed 04/18/18 Page 9 of 11

BARBARA LOZOYA MICHEL, a.k.a. “Tia,” unlawfully, knowingly and intentionally used a
communication facility, a telephone, to further the commission of a drug trafficking crime,
namely, conspiracy to distribute a controlled substance, contrary to 21 U.S.C. § 846.

In violation of21 U.S.C. § 843(b).

QPLN!

On or about February 26, 2018, in Dona Ana County, in the District of New Mexico, and
elsewhere, the defendants, FIDEL GONZALES, a.k.a. “Bean,” a.k.a. “Junior,” BARBARA
LOZOYA M]CHEL, a.k.a. “Tia,” and FIDEL M. ORTIZ, a.k.a. “Pops,” did knowingly and
intentionally transport, transmit, and transfer, and did attempt to transport, transmit, and transfer,
United States currency from a place in the United States to and through a place outside the
United States, with the intent to promote the carrying on of a specified unlawful activity, that is
distribution of a controlled substance.

In violation of 18 U.S.C. §§ l956(a)(2) and 2.

QJ.L.lnf_l_l

On or about February 26, 2018, in Dona Ana Counly, in the District of New Mexico, and
elsewhere, the defendants, FIDEL GONZALES, a.k.a. “Bean,” a.k.a. “Junior,” and FIDEL
M. ORTIZ, a.k.a. “Pops,” unlawfully, knowingly and intentionally used a communication
facility, a telephone, to further the commission of a drug trafficking erirrie, namely, conspiracy to
distribute a controlled substance, contrary to 21 U.S.C. § 846.

In violation of21 U.S.C. § 843(b).

M

On or about February 27, 2018, in Dona Ana County, in the District ofNew Mexico, and

elsewhere, the defendants, BRIAN NEVAREZ, a.k.a. “Buttercup,” and ORLANDO

BUSTILLOS, unlawfully, knowingly and intentionally used a communication facility, a
9

Case 2:18-cr-Ol252-RB Document 2 Filed 04/18/18 Page 10 of 11

telephone, to further the commission of a drug trafficking crime, namely, conspiracy to distribute
a controlled substance, contrary to 21 U.S.C. § 846.
In violation of21 U.S.C. § 843(b).
Count 13
On or about February 27, 2018, in Doria Ana County, in the District of New Mexico, the
defendant, FIDEL GONZALES, a.k.a. “Bean,” a.k.a. “Junior,” unlawfully, knowingly and
intentionally distributed a controlled substance, a mixture and substance containing a detectable
amount of cocaine.
ln violation of21 U.S.C. §§ 84l(a)(l) and (b)(l)(C), and 18 U.S.C. § 2.
Count 14
On or about February 27, 2018, in Doiia Ana County, in the District of New Mexico, the
defendant, BRIAN NEVAREZ, a.k.a. “Buttercup,” unlawfully, knowingly and intentionally
distributed a controlled substance, a mixture and substance containing a detectable amount of
cocaine.
ln violation of21 U.S.C. §§ 841(a)(1) and (b)(l)(C), and 18 U.S.C. § 2.
Count 15
On or about February 27, 2018, in Dor'ia Ana County, in the District of New Mexico, the
defendant, ORLANDO BUSTILLOS, unlawfully, knowingly and intentionally possessed with
intent to distribute a controlled substance, a mixture and substance containing a detectable
amount of cocaine.

In violation of21 U.S.C. §§ 84l(a)(1) and (b)(l)(C), and 18 U.S.C. § 2.

10

Case 2:18-cr-Ol252-RB Document 2 Filed 04/18/18 Page 11 of 11

M
On or about February 27, 2018, in Dor`ia Ana County, in the District of New Mexico, and
elsewhere, the defendants, FIDEL GONZALES, a.k.a. “Bean,” and BARBARA LOZ.OYA
MICHEL, a.k.a. “Tia,” unlawfully, knowingly and intentionally used a communication facility,
a telephone, to further the commission of a drug trafficking crime, namely, conspiracy to
distribute a controlled substance, contrary to 21 U.S.C. § 846.
In violation of 21 U.S.C. § 843(b).
Count 17
On or about March 2, 2018, in Dor'ia Ana County, in the District of New Mexico, and
elsewhere, the defendants, FIDEL GONZALES, a.k.a. “Bean,” a.k.a. “Junior,” and FIDEL
M. ORTIZ, a.k.a. “Pops,” unlawfully, knowingly and intentionally used a communication
facility, a telephone, to further the commission of a drug trafficking crime, namely, conspiracy to
distribute a controlled substance, contrary to 21 U.S.C. § 846.
In violation of21 U.S.C. § 843(b).

A TRUE BILL:

/s/

 

FOREPERSON OF THE GRAND IURY

 

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